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  7

  8                         UNITED STATES BANKRUPTCY COURT

  9                          CENTRAL DISTRICT OF CALIFORNIA

 10 In re:                                          Case No. 1:20-bk-11099-MT

 11 ARTHUR MARTIRYAN,                               Chapter 7
 12
                        Debtor.                     ORDER ON STIPULATION
 13                                                 EXTENDING TIME TO OBJECT TO
                                                    DISCHARGE
 14

 15

 16          The Court having considered the Stipulation Extending Time to Object to Discharge
 17   entered into by and between Creditor JPMorgan Chase Bank, N.A. (“Chase”), by and through its
 18   attorneys of record, and Arthur Martiryan (“Debtor”), and for good cause appearing:
 19          1.     IT IS HEREBY ORDERED that the deadline for Chase to file a complaint or
 20                 motion under Bankruptcy Rule 4004(a) objecting to the Debtors’ discharge is
 21                 extended from September 29, 2020 to November 13, 2020.
 22   ///
 23   ///
 24   ///
 25   ///
 26
 27

 28
                                                     -1-                          CASE NO. 9:19-BK-10031-DS
               ORDER ON STIPULATION EXTENDING TIME TO OBJECT TO DISCHARGE
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  1            2.     IT IS HEREBY ORDERED that the parties may file a motion and/or subsequent

  2                   stipulation requesting an extension of the above deadline for cause.

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  4            IT IS SO ORDERED.

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      Date: September 24, 2020
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                                                    -2-                        CASE NO. 9:19-BK-10031-DS
             ORDER ON STIPULATION EXTENDING TIME TO OBJECT TO DISCHARGE
